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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Jane Jones, : Docket No. 2:16-CV-07720-KM-MAH
: Hon. Kevin McNulty, U.S5.D.d.
Plaintiffs : Hon. Michael A. Hammer, U.S.M.J.
vs.

PI KAPPA INTERNATIONAL
FRATERNITY, INC.; PI KAPPA
ALPHA FRATERNITY MEMBER

BRETT HELBERG, in his
Individual and official
Capacity; PI KAPPA ALPHA
FRATERNITY MEMBER DAVID
MALINOWSKI, in his individual
And official capacity; PI :
KAPPA ALPHA FRATERNITY - LOCAL:
CHAPTER MU ZETA at RAMAPO
COLLEGE; PI KAPPA ALPHA
FRATERNITY/MU ZETA CHAPTER
PRESIDENT SKENDER AGIC, in his:
Individual and official
Capacity; PI KAPPA ALPHA
FRATERNITY/MU ZETA CHAPTER
MEMBER JOHN HOGAN, in his
Individual and official
Capacity; PI KAPPA ALPHA
FRATERNITY/MU ZETA CHAPTER
MEMBER JOSHUA WILLIAM NEWMAN,
In his individual and official:
Capacity; RAMAPO COLLEGE OF
NEW JERSEY; RAMAPO COLLEGE
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BOARD OF TRUSTEES; RAMAPO
COLLEGE OF NEW JERSEY PUBLIC
SAFTEY DIRECTOR VINCENT
MARKOWSKI, in his individual
And official capacity; RAMAPO :
COLLEGE OF NEW JERSEY PETER
MERCER, in his individual and :
Official capacity; RAMAPO
COLLEGE OF NEW JERSEY :
COORDINATOR OF SUBSTANCE ABUSE:
& PREVENTION CORY ROSENDRANZ,
In her individual and official:
Capacity; RAMAPO COLLEGE OF
NEW JERSEY ACTING DEAN OF :
STUDENTS MELISSA VAN DER WALL;:
JORDAN MASSOOD, a former :
Ramapo College of New Jersey
Student; CHRISTOPHER RAINONE,
Former Ramapo College of New
Jersey Student; JUSTIN SOMMERS:
Former Ramapo College of New
Jersey Student; JOHN/JANE DOES:
#1-20, individually and in
Their official capacity; and
XYX CORPORATIONS #1-10,
Individually, jointly, and
Severally in the alternative,

Defendants
JOHN HOGAN

Defendant /
Third Party Plaintiff

CHRISTIAN LOPEZ and NAKEEM : STIPULATION OF DISMISSAL
GARDENER :

WITH PREJUDICE
Third Party Defendants

The above entitled action having been amicably resolved
between the plaintiff, Jane Jones, and the Defendant/Third Party

Defendant Christian Lopez, it is hereby stipulated that
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the complaint be and is hereby dismissed with prejudice against

the defendant, Christian Lopez.

 

Dated: October 31, 2022 By:

 

Robert A. Ferraro, Esq.
Attorney for Defendant,
Christian Lopez

 

By:
Dated: ilafez at#7Y¥ck J. Whelan, Esq.
A rney for Plaintiff
